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                              EXHIBIT 3
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                          CONSENT TO JOINT COLLECTIVE ACTION

   •      I, __________________________(print name), consent to join the above styled lawsuit
   seeking damages for unpaid wages under the FLSA.

   •       I am similarly situated to the named Plaintiff in this matter because I performed similar
   duties for the Defendants and was paid in the same regard as the named Plaintiff.

   •      I authorize the named Plaintiff to file and prosecute the above referenced matter in my
   name, and on my behalf, and designate the named Plaintiff to make decisions on my behalf
   concerning the litigation, including negotiating a resolution of my claims and entering into a fee
   agreement with Plaintiff’s Counsel, and I understand I will be bound be such decisions.

   •      I agree to be represented by A. Andrew OBeidy of OBeidy & Associates, P.A. and
   Cathleen Scott of Scott Wagner & Associates, P.A., counsel for the named Plaintiff.

   •      If my consent form is stricken for any reason, I authorize Plaintiff’s Counsel to use this
   consent form to file my claim in a separate or related action.

   Date: _________________ Signature: ____________________________



   Information below this line will not be filed with the Court:

   Information on this page will not be filed with the Court:

   Start and end dates of employment: _____________________to____________________
   Mailing Address: ________________________________________

   City: ________________________________________

   State: ________________________________________

   Cell Phone: ________________________________________

   Carrier______

   Permission to text? Y/N

   Alternative Phone: ________________________________________

   Secure Email (not shared with anyone: ________________________________________

   Work Locations: ________________________________________
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   Supervisor: ____________________________________

   Position(s) Held
